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 8
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11                                                )
     UNITED STATES OF AMERICA,                    )       Case No.: 1:06-cr-00059 AWI
12                                                )
                    Plaintiff,                    )
13                                                )       STIPULATION AND ORDER
            vs.                                   )       REGARDING STATUS CONFERENCE
14                                                )       AND SURRENDER DATE
     FRANCHESKA BRIZAN,                           )
15                                                )
                    Defendant                     )
16
            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
17
     defendant FRANCHESKA BRIZAN, and Karen Escobar, Assistant United States Attorney, that
18
     the status conference be continued from November 14, 2011, at 11:00 a.m., to November 28,
19
     2011, at 11:00 a.m. IT IS FURTHER STIPULATED that defendant will surrender on December
20
     6, 2011.
21

22   Dated: November 8, 2011                                Respectfully submitted,
23
                                                            /s/ Jeffrey T. Hammerschmidt
24                                                          Jeffrey T. Hammerschmidt
                                                            Attorney for Defendant,
25
                                                            Francheska Brizan
26

27   Dated: November 8, 2011                                /s/ Karen Escobar
                                                            Karen Escobar
28
                                                            Assistant U.S. Attorney



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 9                                   IN THE UNITED STATES DISTRICT COURT FOR THE

10                                            EASTERN DISTRICT OF CALIFORNIA

11
                                                               )
12   UNITED STATES OF AMERICA,                                 ) Case No.: 1:06-cr-00059 AWI
                                                               )
13                               Plaintiff,                    )
                                                               )
14                         vs.                                 )
                                                               )
15   FRANCHESKA BRIZAN,                                        )
                                                               )
16                               Defendant                     )
17

18                                                           ORDER
19                         IT IS ORDERED that the November 14, 2011 status conference date be vacated.
20                         IT IS ORDERED that the status conference will now occur on November 28, 2011 at
21   11:00 a.m.
22                         IT IS ORDERED that defendant will surrender on December 6, 2011.
23

24

25
     IT IS SO ORDERED.

26   Dated: November 9, 2011
                                                      CHIEF UNITED STATES DISTRICT JUDGE
27   DEAC_Signature-END:




28   0m8i788




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